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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                          CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                            Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                            Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Dell I Gardo                                        JOINT DEBTOR:                                                CASE NO.:
 Last Four Digits of SS#                   xxx-xx-2256                   Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 36 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $            111.12   for months           1      to       25       ;
           B.       $             55.56   for months          26      to       36       ;
           C.       $                     for months                  to                ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  3,500.00       TOTAL PAID $                      1,500.00
                     Balance Due        $            2,000.00    payable $ 80.00                 /month (Months          1 to      25 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 -NONE-                                                  Arrearage on Petition Date $
 Address:                                                         Arrears Payment $                                    /month       (Months   to )
 Account No:                                                      Regular Payment $                                    /month       (Months   to )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                             Description of Collateral
             Secured Creditor                                 and Value of Collateral    Interest Rate           Plan Payments Months of Payment      Total Plan Payments

 -NONE-                                          $                                            %          $                               To
Priority Creditors: [as defined in 11 U.S.C. §507]
     -NONE-                       Total Due $
                                  Payable     $                /month                                        (Months     to     )     Regular Payment $
Unsecured Creditors: Pay $20.00 /month (Months 1 to 25 );
                          Pay $50.00 /month (Months 26to 25 ).

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that the deadline for providing
             the Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s)
             shall provide the trustee with verification of their disposable income if their gross household income increases by
             more than 3% over the previous year’s income.

             Special Intentions:
             Bank of America: Debtor will pay claim directly
             Bk Of Amer: Debtor will pay claim directly
             Morning Side Association: Debtor will pay claim directly

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Dell I Gardo
 Dell I Gardo
 Debtor
 Date: May 4, 2015




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